1         Case 1:08-cr-00282-LJO Document 111 Filed 10/02/09 Page 1 of 2

2
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     Attorney for Defendant, JUAN PEREZ, JR.
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8
9                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                                         )     Case No. 1:08cr00282 LJO
11   UNITED STATES OF AMERICA,
12                                   )
                     Petitioner,     )                         STIPULATION TO CONTINUE
13                                   )                         SENTENCING
          vs.                        )                         Old Date: October 8, 2009
14                                   )                         New Date: November 6, 2009
15   JUAN PEREZ, JR.,                )
                                     )                         Judge: Honorable
16                   Defendant.      )                         LAWRENCE J. O’NEILL
     _______________________________ )
17
18
19         TO THE HONORABLE LAWRENCE J. O’NEILL, U.S. DISTRICT COURT

20   JUDGE FOR THE EASTERN DISTRICT OF CALIFORNIA:

21         It is hereby stipulated by and between the parties that the sentencing date for
22   the above named defendant currently set for October 8, 2009 be continued until
23   November 6, 2009. This continuance is necessary to properly prepare for sentencing
24   as there were a number of sentencing issues, factual and legal, that arose in the
25   course of preparing the presentence report that need to be addressed and resolved.
26
            The Assistant United States Attorney, Kimberly Sanchez and Defendant’s
27   Attorney, Steven L. Crawford do hereby agree to this continuance
28
     Dated: October 1, 2009
                                                                                         /S/

                            Stipulation -- United States of America v. Juan Perez, Jr.
                                            Case No. 1:08CR282 LJO
                                                      Page 1
1        Case 1:08-cr-00282-LJO Document 111 Filed 10/02/09 Page 2 of 2

2
3                                                        Steven L. Crawford, Attorney for

4                                                        JUAN PEREZ, JR.

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6
                                                                                   /S/
7
                                                         Kimberly Sanchez, AUSA
8
9
     IT IS SO ORDERED.
10
11   Dated:   October 2, 2009                  /s/ Lawrence J. O'Neill
     b9ed48                                UNITED STATES DISTRICT JUDGE
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                      Stipulation -- United States of America v. Juan Perez, Jr.
                                      Case No. 1:08CR282 LJO
                                                Page 2
